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05 JUP!~' 8 PH 5 FOR THE wEsTERN DIsTRICT OF TENNESSEE 05 Jun_z m ‘; 32
wEsTERN DIVISION

   
    

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Plainciff, ) W..D OF lN MEMPHIS
) CI. NO. 04-20086~Ml id
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Defendant. } 5

 

 

 

MOTION TO CONTINUE SENTENCING DATE

 

Comes now the United States by and through its counsel,
Terrell L. Harris, United States Attorney for the Western District
of Tennessee and moves the Court to Continue the sentencing of
Kevin Agee currently scheduled for June 8, 2005.

The Assistant United States Attorney in this case will be out
of town the week of June B, 2005 for training. Mr. Agee's counsel
has been consulted and has no objection to the continuance of the
sentencing.

Therefore, the Government requests the Court to continue the
sentencing of Mr. Agee until on or after June 15, 2005.

Respectfully submitted,

, TERRELL L. HARRIS
United States Attorney

By= 211 Q¢W

V. RAE OLIVER

ASSiStant`United States.Attorney
167 N. Main, Room 800

Memphis, TN 38103

(#18831 Tennessee)

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CERTIFICATE OF SERVICE
I, V. Rae Oliver, Assistant United States Attorney for the
Western District of Tennessee, hereby certify that a copy of the
foregoing Motion to Continue Sentencing Date has been mailed, first
class postage pre-paid, to Steffen G. Schreiner, Attorney at Law,

369 N. Main Street, Memphis, TN 38103.

Th.is 211 day of June, 2005.

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V. RAE OLIVER
Assistant United_States.Attorney
167 N. Main, ROOm 800
Memphis, TN 38103

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 51 in
case 2:04-CR-20086 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

ENNESSEE

 

Valeria Rae Oliver

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Honorable J on McCalla
US DISTRICT COURT

